               Case 1:17-cr-00114-LMB Document 1 Filed 02/23/17 Page 1 of 1 PageID# 1
 AO 91 (Rev. 08/09) Criminal Complaint


                                      United States District Co
                                                                   for the                                   ^'23 m
                                                       Eastern District of Virginia

                   United States of America
                                 V.

                                                                             CaseNo.1:16 mr

                     Jon Lawrence Frank


                            Defendant(s)


                                                        CRIMINAL COMPLAINT


          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or aboutthe date(s) of                     January 15, 2016              in the county of               Loudoun        in the

       Eastern          District of              Virginia         , the defendant(s) violated:

             Code Section                                                       Offense Description

18U.S.C.§1343                                    Wire fraud




          This criminal complaint is based on these facts:
Please see the attached Affidavit.




          SJ Continued on the attached sheet.



 Reviewed by AUSA/SAUSA:
                                                                                                 Complain^t's signature
    AUSA Jack Hanly
                                                                                  Elizabeth Ballinger-Brotman, FBI Special Agent
                                                                                                  Printed name and title


 Sworn to before me and signed in my presence.
                                                                                                     Isl
                                                                                      Michael S. Nachmanoff
 Date:                                                                                United States Magistrate Judge
                                                                                                    Judge's signature
                                                                                         Honorable Michael S. Nachmanoff
 City and state:                         Alexandria, Virginia                             United States Magistrate Judge
                                                                                                  Printed name and title
